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IN THE UNITED sTATEs DISTRICT CoURT 'ED BY~- D.C.
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 AUG
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LYNN MARIE POLINSKI:
Plaintiff,
vs.

Civ. NO. 04-2912-M1[P

SARA LEE CORPOR.ATION/
JIMMY DEAN FOO`DS,

Defendants.

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ORDER GRANT'ING DEFENDANT'S MOTION TO COMPEL AND DIRECTING
PLAINTIFF'S COU'NSEL TO FILE SUPPLEMENTAL RESPONSE

 

Before the court is defendant Sara Lee Corporation‘s (“Sara
Lee") Motion to Compel Discovery Responses, filed July 14, 2005
(dkt #15). In the motion, Sara Lee states that it mailed various
discovery requests to plaintiff Lynn Polinski ("Polinski") on May
5, 2005, but that Polinski has yet to respond to these requests.
The motion also details various communications between counsel for
Sara Lee and Polinski regarding unsuccessful efforts by defense
counsel to obtain these discovery requests from plaintiff's
counsel, Mr. Bradley G. Kirk. Sara Lee asks that the court (1)
order Polinksi to respond to these outstanding discovery requests;
(2) award attorney's fees to Sara Lee pursuant to Fed. R. Civ. P.

37; and (3) dismiss this case with prejudice.

This document entered cm the dockets ee tn compliance
with Hu!e 58 and/or 79(a) FHCP on § 413 2 l /

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On August 1, 2005, Polinksi filed her response to the motion.
Counsel admits that "his responses to the Defendant's discovery
requests in this matter‘ have been extremely' tardy," and that
"Plaintiff's counsel must concede that the matter [sic] in which he
has conducted himself has not been in compliance with the Federal
Rules of Civil Procedure." Mr. Kirk, however, contends that his
conduct “has not been intentional," and that he has been dealing
with "personal health issues that have impacted his practice and
the manner in. which. he has handled this case." There is no
indication in the response when plaintiff intends to respond to
Sara Lee's discovery requests.

Sara Lee's motion to compel is hereby GRANTED. Polinski is
ordered to respond fully to all outstanding discovery requests
within eleven (11) days from the date of this order. Given the
untimeliness of the responses, and that Polinski has not
demonstrated good cause to excuse the untimely responses, any
objections that Polinksi may have had to these discovery requests

are deemed waived. See Fed. R. Civ. P. 33 and 34; Marx v. Kellyl

Hart & Hallmanl P.C., 929 F.2d 8, 12 (lst Cir. 1991); Pham v.
Hartford Fire Ins. Co., 193 F.R.D. 659, 662 (D.Colo. 2000). The

plaintiff is warned that failure to timely comply with this court's
order, or to timely respond to discovery requests in the future,
shall result in dismissal of the lawsuit with prejudice.

With regard to Sara Lee's request for sanctions, the court

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directs counsel for Polinski within eleven (ll) days from the date
of this order to file a supplemental response describing in detail
his reasons for not timely responding to discovery requests. If
the supplemental response requires disclosure of sensitive personal
information, such as counsel's health or medical information, the
response may be filed under seal. The court will consider Sara
Lee's request for attorney‘s fees and dismissal of the complaint

after the supplemental response is filed.

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TU`MT' PHAM
UNITED sTATEs MAGISTRATE JUDGE

/fJSc/>i' 3 ', '?/¢;)05/

I'I' IS SO ORDERED.

Date

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Notice of Distribution

This notice confirms a copy cf the document docketed as number 18 in
case 2:04-CV-029]2 Was distributed by faX, mail, or direct printing on
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Honorable Jon McCalla
US DISTRICT COURT

